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 7

 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,           ) Case No.: 1:12-CR-00038-6 AWI
                                         )
12              Plaintiff,               )
                                         ) STIPULATION AND ORDER TO
13        vs.                            ) CONTINUE SENTENCING
                                         )
14                                       )
     CATATEA JAMES,                      ) Date: October 8, 2013
15                                       ) Time: 10:00 am
                Defendant.               ) Hon. Anthony W. Ishii
16

17              Plaintiff United States of America, by and through
18   its counsel of record, and defendant, by and through her
19   counsel of record, hereby stipulate as follows:
20        1. By previous order, this matter was set for sentencing
21   on October 8, 2013, at 10:00 a.m.
22        2. By this stipulation, defendant now moves to continue
23   the sentencing until October 15, 2013, at 10:00 a.m.
24        3. The parties agree and stipulate, and request that the
25   Court find the following:
26              a. The Court is unavailable on October 7, 2013, for
27        sentencing and has therefore continued Defendant’s
28        sentencing to October 8, 2013, at 10:00 a.m.

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                 Stipulation and [Proposed] Order to Continue Sentencing
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 1                                   b. Defense counsel is unavailable on October 8, 2013,
 2                            due to a previously scheduled hearing.              Defense Counsel
 3                            will be appearing on People v. Manjinder Shergill, Case
 4                            No. 1447391, in Stanislaus County Superior Court at 8:30
 5                            a.m.
 6                                   c. The government does not object to the continuance.
 7

 8   IT IS SO STIPULATED.
 9   DATED: October 3, 2013                                       Respectfully submitted,
10                                                                /s/ Anthony P. Capozzi
                                                                  ANTHONY P. CAPOZZI
11                                                                Attorney for, CATATEA JAMES
12

13   Dated: October 3, 2013                                       /s/ Karen A. Escobar _
                                                                  Assistant United States
14                                                                Attorney
15

16

17                                                          ORDER
18

19                            For reasons set forth above, the continuance requested by
20   the parties is granted.
21                            IT IS ORDERED that the Sentencing currently scheduled for
22   October 8, 2013, at 10:00 a.m. is continued to October 15,
23   2013, at 10:00 a.m.
24
     IT IS SO ORDERED.
25

26   Dated: October 3, 2013
                                                          SENIOR DISTRICT JUDGE
27
     DEAC_Signature-END:




28   9h0d30bb

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                                     Stipulation and [Proposed] Order to Continue Sentencing
                                                  Case No.: 1:12-CR-00038-6 AWI
